817 F.2d 102Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Howard BEAVER, Petitioner--Appellant,v.Tom LAWS, Superintendent;  Lacy Thornburg, Attorney Generalof the State of North Carolina, Respondents--Appellees.
    No. 86-7386.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 11, 1987.Decided April 22, 1987.
    
      Before RUSSELL, CHAPMAN and WILKINSON, Circuit Judges.
      Howard Beaver, appellant pro se.
      Richard Norwood League, for appellees.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that an appeal from its order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254 would be without merit.  Because the dispositive issues recently have been decided authoritatively, we deny the motion for release on bond, deny a certificate of probable cause to appeal, dispense with oral argument, and dismiss the appeal on the reasoning of the district court.  Beaver v. Laws, C/A No. 86-262 (W.D.N.C., Dec. 1, 1986).
    
    
      2
      DISMISSED.
    
    